Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF KANSAS

Case number (if known)                                                      Chapter      12
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Emrich Family Creamery LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  8970 Baldwin Creek Rd                                           PO Box 846
                                  Leonardville, KS 66449                                          Manhattan, KS 66505
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Riley                                                           Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  8970 Baldwin Creek Road Leonardville, KS 66449
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201
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                                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 1
Debtor    Emrich Family Creamery LLC                                                                   Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9
                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.

                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor     Natasha K. Behrens                                              Relationship            Owner
                                                 District   Kansas                        When                              Case number, if known




Official Form 201
                                       Case 18-41400 Doc# 1 Filed 10/31/18 Page 2 of 53
                                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                      page 2
Debtor   Emrich Family Creamery LLC                                                                Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201
                                    Case 18-41400 Doc# 1 Filed 10/31/18 Page 3 of 53
                                       Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                        page 3
Debtor    Emrich Family Creamery LLC                                                               Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      October 31, 2018
                                                  MM / DD / YYYY


                             X   /s/ Natasha K. Behrens                                                   Natasha K. Behrens
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Authorized Member




18. Signature of attorney    X   /s/ Wesley F. Smith                                                       Date October 31, 2018
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Wesley F. Smith 18517
                                 Printed name

                                 Stevens & Brand, LLP
                                 Firm name

                                 900 Massachusetts, Suite 500
                                 Lawrence, KS 66044-2868
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (785) 843-0811                Email address      WSmith@StevensBrand.com

                                 18517 KS
                                 Bar number and State




Official Form 201
                                     Case 18-41400 Doc# 1 Filed 10/31/18 Page 4 of 53
                                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                      page 4
 Fill in this information to identify the case:

 Debtor name         Emrich Family Creamery LLC

 United States Bankruptcy Court for the:            DISTRICT OF KANSAS

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Union State Bank                                        Checking                        2533                                         $15.82




           3.2.     Peoples State Bank                                      Checking                        6009                                       $509.85



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                        $525.67
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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                                        Case 18-41400                Doc# 1       Filed 10/31/18       Page 5 of 53
 Debtor         Emrich Family Creamery LLC                                                           Case number (If known)
                Name


           11a. 90 days old or less:                                  150.00    -                                   0.00 = ....                     $150.00
                                              face amount                              doubtful or uncollectible accounts



           11a. 90 days old or less:                                  600.00    -                                   0.00 = ....                     $600.00
                                              face amount                              doubtful or uncollectible accounts



           11a. 90 days old or less:                                 2,000.00   -                                   0.00 = ....                   $2,000.00
                                              face amount                              doubtful or uncollectible accounts



           11a. 90 days old or less:                                 4,000.00   -                                   0.00 = ....                   $4,000.00
                                              face amount                              doubtful or uncollectible accounts




 12.       Total of Part 3.                                                                                                                   $6,750.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                        Date of the last              Net book value of         Valuation method used   Current value of
                                                      physical inventory            debtor's interest         for current value       debtor's interest
                                                                                    (Where available)

 19.       Raw materials

 20.       Work in progress

 21.       Finished goods, including goods held for resale

 22.       Other inventory or supplies
           Milk Inventory - 250
           Gallons $1000
           Feed Inventory - 1 Ton
           of Corn $200
                             1 1/2
           Ton of Bean Meal $600
                            .5 Ton,
           of Calve Creep $150
                             2
           Pallets of Wheat Seed
           $560                                                                                    $0.00                                          $2,510.00




 23.       Total of Part 5.                                                                                                                   $2,510.00
           Add lines 19 through 22. Copy the total to line 84.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                         page 2
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                                        Case 18-41400                    Doc# 1        Filed 10/31/18           Page 6 of 53
 Debtor         Emrich Family Creamery LLC                                                       Case number (If known)
                Name



 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
               No
               Yes. Book value                                       Valuation method                        Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
               No
               Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.

           General description                                                   Net book value of       Valuation method used   Current value of
                                                                                 debtor's interest       for current value       debtor's interest
                                                                                 (Where available)

 28.       Crops-either planted or harvested

 29.       Farm animals Examples: Livestock, poultry, farm-raised fish
           All Livestock, Cows, Calves, Bulls, Heifers -
           See Attached List                                                                Unknown                                          Unknown



 30.       Farm machinery and equipment (Other than titled motor vehicles)
           2000 Cat Skid Loader Model 236                                                   Unknown                                        $14,000.00


           Vermeer Model 605F Baler                                                         Unknown                                          $2,500.00


           IHC Model 574 Tractor                                                            Unknown                                          $6,000.00


           Bush Hog 5ft Rotary Mower                                                        Unknown                                            $600.00


           Johnson Body Cooler/Freezer box on Truck                                         Unknown                                        $22,000.00



 31.       Farm and fishing supplies, chemicals, and feed

 32.       Other farming and fishing-related property not already listed in Part 6
           See Attached List                                                                   $0.00                                               $0.00



 33.       Total of Part 6.                                                                                                            $45,100.00
           Add lines 28 through 32. Copy the total to line 85.

 34.       Is the debtor a member of an agricultural cooperative?
               No
               Yes. Is any of the debtor's property stored at the cooperative?
                         No
                         Yes

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                    page 3
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 Debtor         Emrich Family Creamery LLC                                                       Case number (If known)
                Name



 35.       Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?
               No
               Yes. Book value                                       Valuation method                        Current Value

 36.       Is a depreciation schedule available for any of the property listed in Part 6?
               No
               Yes

 37.       Has any of the property listed in Part 6 been appraised by a professional within the last year?
               No
               Yes

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.


 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                   Net book value of       Valuation method used   Current value of
           Include year, make, model, and identification numbers                 debtor's interest       for current value       debtor's interest
           (i.e., VIN, HIN, or N-number)                                         (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     1990 Ford 1-ton Truck with Johnson
                     Body Box - Junk                                                        Unknown                                                $0.00


           47.2.     1995 GMC Toppick Truck with Johnson
                     Cooler                                                                 Unknown                                          $5,500.00


           47.3.     2002 Bulk Milk Transport Trailer - Scrap
                     (Junk)                                                                 Unknown                                                $0.00


           47.4.     1995 Chevrolet Pick Up - Junk                                             $0.00                                               $0.00



 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels
           48.1. 16 Ft Stock Trailer - Junk                                    Unknown                                                             $0.00



 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           All Misc Panels Fencing, Feed Bunks, Feeders,
           etc,                                                                             Unknown                                          Unknown



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                    page 4
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                                        Case 18-41400                   Doc# 1          Filed 10/31/18     Page 8 of 53
 Debtor         Emrich Family Creamery LLC                                                    Case number (If known)
                Name

           Electrofreeze 20 Quart Ice Cream Freezer                                    Unknown                                            $7,500.00



 51.       Total of Part 8.                                                                                                          $13,000.00
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and          Net book value of      Valuation method used   Current value of
           property                                       extent of           debtor's interest      for current value       debtor's interest
           Include street address or other                debtor's interest   (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1. Real Estate
                     Mortgages on 312
                     Front Street,
                     Wheaton, KS

                     Legal Description:
                     The West Half (W/2)
                     of Lot 7 and all of Lot
                     8 in Block 10 of the
                     original townsite of
                     Wheaton,
                     Pottawatomie
                     County, Kansas, and
                     Grantor's rights
                     under easement
                     dated May 2, 1992,
                     wherein Larry D.
                     Worden and Karen S.
                     Worden are
                     Grantees, all as
                     recorded in Book
                     295, Page 255 of
                     records of the
                     Register of Deeds of
                     Pottawatomie
                     County, Kansas.                                                        $0.00                                         $7,500.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 5
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                                        Case 18-41400                 Doc# 1      Filed 10/31/18       Page 9 of 53
 Debtor         Emrich Family Creamery LLC                                                   Case number (If known)
                Name


 56.        Total of Part 9.                                                                                             $7,500.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
               No
               Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                   page 6
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                                       Case 18-41400                 Doc# 1      Filed 10/31/18        Page 10 of 53
 Debtor          Emrich Family Creamery LLC                                                                          Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                      Current value of real
                                                                                                     personal property                     property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                 $525.67

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                       $6,750.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                 $2,510.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                      $45,100.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                      $13,000.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                             $7,500.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                              $67,885.67            + 91b.                 $7,500.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                   $75,385.67




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 7
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Case 18-41400   Doc# 1   Filed 10/31/18   Page 13 of 53
Case 18-41400   Doc# 1   Filed 10/31/18   Page 14 of 53
Case 18-41400   Doc# 1   Filed 10/31/18   Page 15 of 53
Case 18-41400   Doc# 1   Filed 10/31/18   Page 16 of 53
 Fill in this information to identify the case:

 Debtor name         Emrich Family Creamery LLC

 United States Bankruptcy Court for the:            DISTRICT OF KANSAS

 Case number (if known)
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                       12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                      Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                  Amount of claim             Value of collateral
                                                                                                                                                  that supports this
                                                                                                                      Do not deduct the value     claim
                                                                                                                      of collateral.
 2.1   Union State Bank                               Describe debtor's property that is subject to a lien                       $4,484.18                     $0.00
       Creditor's Name                                1995 Chevrolet Pick Up - Junk
       204 E Hwy 16
       PO Box 67
       Olsburg, KS 66520-0067
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       03/22/2017                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       6526
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.2   Union State Bank                               Describe debtor's property that is subject to a lien                       $4,000.00                Unknown
       Creditor's Name                                All equipment including, but not limited to,
                                                      machinery, vehicles, furniture, fixtures,
                                                      manufacturing equipment, farm machinery
                                                      and equipment, shop equipment, office and
       204 E Hwy 16                                   record keeping equipment, parts and tools.
       PO Box 67                                      And All farm products inclu
       Olsburg, KS 66520-0067
       Creditor's mailing address                     Describe the lien
                                                      Non-Purchase Money Security
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       05/17/2017                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       6623

Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                    page 1 of 6
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                                            Case 18-41400               Doc# 1          Filed 10/31/18              Page 17 of 53
 Debtor       Emrich Family Creamery LLC                                                               Case number (if know)
              Name

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.3   Union State Bank                               Describe debtor's property that is subject to a lien                      $10,000.00   $7,500.00
       Creditor's Name                                Electrofreeze 20 Quart Ice Cream Freezer
       204 E Hwy 16
       PO Box 67
       Olsburg, KS 66520-0067
       Creditor's mailing address                     Describe the lien
                                                      Purchase Money Security
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       05/17/2017                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       6625
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.4   Union State Bank                               Describe debtor's property that is subject to a lien                       $3,135.00   Unknown
       Creditor's Name                                All equipment including, but not limited to,
                                                      machinery, vehicles, furniture, fixtures,
                                                      manufacturing equipment, farm machinery
                                                      and equipment, shop equipment, office and
       204 E Hwy 16                                   record keeping equipment, parts and tools.
       PO Box 67                                      And All farm products inclu
       Olsburg, KS 66520-0067
       Creditor's mailing address                     Describe the lien
                                                      Non-Purchase Money Security
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       05/17/2017                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       6624
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.5   Union State Bank                               Describe debtor's property that is subject to a lien                     $140,169.49   Unknown




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page 2 of 6
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 Debtor       Emrich Family Creamery LLC                                                               Case number (if know)
              Name

       Creditor's Name                                All equipment including, but not limited to,
                                                      machinery, vehicles, furniture, fixtures,
                                                      manufacturing equipment, farm machinery
                                                      and equipment, shop equipment, office and
       204 E Hwy 16                                   record keeping equipment, parts and tools.
       PO Box 67                                      And All farm products inclu
       Olsburg, KS 66520-0067
       Creditor's mailing address                     Describe the lien
                                                      Non-Purchase Money Security
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       06/03/2015                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       5487
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.6   Union State Bank                               Describe debtor's property that is subject to a lien                      $33,417.46   Unknown
       Creditor's Name                                All equipment including, but not limited to,
                                                      machinery, vehicles, furniture, fixtures,
                                                      manufacturing equipment, farm machinery
                                                      and equipment, shop equipment, office and
       204 E Hwy 16                                   record keeping equipment, parts and tools.
       PO Box 67                                      And All farm products inclu
       Olsburg, KS 66520-0067
       Creditor's mailing address                     Describe the lien
                                                      Non-Purchase Money Security
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       06/03/2015                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       5485
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 2.7   Union State Bank                               Describe debtor's property that is subject to a lien                     $281,192.95   $7,500.00
       Creditor's Name                                Real Estate Mortgages on 312 Front Street,
                                                      Wheaton, KS

                                                      Legal Description: The West Half (W/2) of Lot
                                                      7 and all of Lot 8 in Block 10 of the original
                                                      townsite of Wheaton, Pottawatomie County,
       204 E Hwy 16                                   Kansas, and Grantor's rights under easement
       PO Box 67                                      dat
       Olsburg, KS 66520-0067
       Creditor's mailing address                     Describe the lien


Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page 3 of 6
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 Debtor       Emrich Family Creamery LLC                                                               Case number (if know)
              Name

                                                      Mortgage
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       06/03/2015                                        Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number
       5486
       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



       US Department of
 2.8                                                  Describe debtor's property that is subject to a lien                     $214,000.00   Unknown
       Argriculture
       Creditor's Name                                Legal Description Attached
       409 North Street
       Seneca, KS 66538
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       5/24/12                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



       US Department of
 2.9                                                                                                                            $96,000.00   Unknown
       Argriculture                                   Describe debtor's property that is subject to a lien
       Creditor's Name                                Legal Description Attached.
       409 North Street
       Seneca, KS 66538
       Creditor's mailing address                     Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
       5/24/12                                           Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page 4 of 6
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 Debtor       Emrich Family Creamery LLC                                                               Case number (if know)
              Name

            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



 2.1    US Department of
 0      Argriculture                                  Describe debtor's property that is subject to a lien                     $231,463.10                  $0.00
        Creditor's Name                               Mortgage Loan to furnish security for the
                                                      laon and to induce the government to make a
        409 North Street                              loan to business.
        Seneca, KS 66538
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
        5/20/15                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



 2.1    US Department of
 1      Argriculture                                  Describe debtor's property that is subject to a lien                      $86,711.91            Unknown
        Creditor's Name                               Mortgage Loan to furnish security for the
                                                      laon and to induce the government to make a
        409 North Street                              loan to business.
        Seneca, KS 66538
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
        5/20/15                                          Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



                                                                                                                               $1,104,574.0
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                         9

 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.


Official Form 206D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 5 of 6
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 Debtor       Emrich Family Creamery LLC                                                 Case number (if know)
              Name

        Name and address                                                                        On which line in Part 1 did       Last 4 digits of
                                                                                                you enter the related creditor?   account number for
                                                                                                                                  this entity
        Office of the General Counsel
        US Dept. Of Agriculture                                                                 Line   2.7
        PO Box 419205 Mail Stop 1401
        Kansas City, MO 64141-6205

        United States Attorney
        US Courthouse, Ste 290                                                                  Line   2.7
        444 SE Quincy St
        Topeka, KS 66683




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                             page 6 of 6
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 Fill in this information to identify the case:

 Debtor name         Emrich Family Creamery LLC

 United States Bankruptcy Court for the:            DISTRICT OF KANSAS

 Case number (if known)
                                                                                                                                                     Check if this is an
                                                                                                                                                     amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                    12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                       Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                           Unknown            $0.00
           Kansas Department of Revenue                              Check all that apply.
           Civil Tax Enforcement                                        Contingent
           PO Box 12005                                                 Unliquidated
           915 SW Harrison                                              Disputed
           Topeka, KS 66612-2005
           Date or dates debt was incurred                           Basis for the claim:
                                                                     Case No. 2018-ST-000223
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                           Unknown            $0.00
           Pottawatomie County Treasurer                             Check all that apply.
           207 N. 1st Street                                            Contingent
           Westmoreland, KS 66549                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Property Taxes
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                       page 1 of 5
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 Debtor       Emrich Family Creamery LLC                                                                      Case number (if known)
              Name

 2.3       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       Unknown    $0.00
           Riley County Treasurer                                    Check all that apply.
           110 County Courthouse                                        Contingent
           Manhattan, KS 66502                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Property Taxes
                                                                     8635 Baldwin Creek - $5,474.57
                                                                     8630 Baldwin Creek - $4,444.52
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                    $123.98
           Art Craft Printers                                                          Contingent
           221 N. 4th Street                                                           Unliquidated
           Manhattan, KS 66502                                                         Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Milk Bottle Labels
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                $19,037.37
           Brad Battels                                                                Contingent
           9360 Walsburg Rd                                                            Unliquidated
           Leonardville, KS 66449-9644                                                 Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Labor and Parts
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.3       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                    $730.00
           Buchanan Industries                                                         Contingent
           8335 Hwy 16                                                                 Unliquidated
           Olsburg, KS 66520                                                           Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Auto Parts and Labor
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.4       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                $50,000.00
           Chuck and Deanna Munson                                                     Contingent
           4820 Liberty Hall Road                                                      Unliquidated
           Junction City, KS 66441-8474                                                Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Personal Loan for Business
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.5       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $1,752.77
           Flory Dairy Equipment, Inc                                                  Contingent
           762 E. 1250 Rd                                                              Unliquidated
           Lawrence, KS 66046                                                          Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Equipment
           Last 4 digits of account number      2845
                                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                           Page 2 of 5
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 Debtor       Emrich Family Creamery LLC                                                              Case number (if known)
              Name

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $474.38
          Heart of America DHIA                                                 Contingent
          4535 Normal Blvd                                                      Unliquidated
          Lincoln, NE 68506                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Dairy Bank
          Last 4 digits of account number       0072
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $85,290.00
          Kansas State Farm Service                                             Contingent
          3600 Anderson Avenue                                                  Unliquidated
          Manhattan, KS 66503-2571                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $107,077.80
          Key Feeds, Inc                                                        Contingent
          105 4th Street                                                        Unliquidated
          Clay Center, KS 67432                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $519.16
          Lakeside Plumbing                                                     Contingent
          P.O. Box 177                                                          Unliquidated
          9620 Senn Road                                                        Disputed
          Randolph, KS 66554
                                                                             Basis for the claim:    Services for Baldwin Brook Farm
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,194.13
          Prairie Valley Veterinary                                             Contingent
          821 Hwy 9                                                             Unliquidated
          Blue Rapids, KS 66411                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Medical Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $900.29
          Precision Plumbing                                                    Contingent
          Heating and Cooling                                                   Unliquidated
          17155 Highway 16                                                      Disputed
          Onaga, KS 66521
                                                                             Basis for the claim:    Maintenance Services
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,174.24
          Southeast Select Sires Inc                                            Contingent
          3789 Old Port Royal Rd                                                Unliquidated
          Spring Hill, TN 37174                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Services
          Last 4 digits of account number       8178
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 3 of 5
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 Debtor       Emrich Family Creamery LLC                                                              Case number (if known)
              Name

 3.13      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $2,295.00
           Terry Johnson                                                        Contingent
           20705 Shannon Creek Road                                             Unliquidated
           Olsburg, KS 66520                                                    Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Hay
           Last 4 digits of account number                                   Alpha Bales
                                                                             Is the claim subject to offset?     No       Yes

 3.14      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $30,000.00
           Union State Bank                                                     Contingent
           204 E Hwy 16                                                         Unliquidated
           PO Box 67                                                            Disputed
           Olsburg, KS 66520-0067
                                                                             Basis for the claim:    Business Loan - to seperate joint business loan
           Date(s) debt was incurred 04/25/13
                                                                             dated 4/25/13
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.15      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $1,445.00
           Washington County Tax & Acct                                         Contingent
           201 C St                                                             Unliquidated
           Washington, KS 66968-1906                                            Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Accounting Services
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $2,089.41
           Whortons Inc                                                         Contingent
           24389 US Hwy 75                                                      Unliquidated
           Holton, KS 66436                                                     Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Dairy Equipment
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.17      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $185.00
           Whortons Inc                                                         Contingent
           24389 US Hwy 75                                                      Unliquidated
           Holton, KS 66436                                                     Disputed
           Date(s) debt was incurred
                                                                                            Invoice 442097
                                                                             Basis for the claim:
           Last 4 digits of account number                                   Maintenance on Dairy Equipment
                                                                             Is the claim subject to offset?     No       Yes

 3.18      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $7,301.83
           Wildcat Feeds, LLC                                                   Contingent
           215 NE Strait Avenue                                                 Unliquidated
           Topeka, KS 66616                                                     Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Winter cow mix
           Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the      Last 4 digits of
                                                                                                      related creditor (if any) listed?            account number, if
                                                                                                                                                   any




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 4 of 5
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 Debtor       Emrich Family Creamery LLC                                                          Case number (if known)
              Name

           Name and mailing address                                                              On which line in Part1 or Part 2 is the      Last 4 digits of
                                                                                                 related creditor (if any) listed?            account number, if
                                                                                                                                              any
 4.1       Michael A. Montoya, PA
           256 S. Santa Fe                                                                       Line     3.8
           P.O. Box 1220
                                                                                                        Not listed. Explain
           Salina, KS 67402-1220


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                    Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.         $                          0.00
 5b. Total claims from Part 2                                                                       5b.    +    $                    313,590.36

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.         $                      313,590.36




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 5 of 5
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                                       Case 18-41400                  Doc# 1        Filed 10/31/18              Page 35 of 53
 Fill in this information to identify the case:

 Debtor name         Emrich Family Creamery LLC

 United States Bankruptcy Court for the:            DISTRICT OF KANSAS

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

              State the term remaining

            List the contract number of
             any government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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                                       Case 18-41400                 Doc# 1   Filed 10/31/18           Page 36 of 53
 Fill in this information to identify the case:

 Debtor name         Emrich Family Creamery LLC

 United States Bankruptcy Court for the:            DISTRICT OF KANSAS

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                    Name                           Check all schedules
                                                                                                                                 that apply:

    2.1      Jeremy Behrens                    8635 Baldwin Creek Rd                                                                D
                                               Leonardville, KS 66449                                                               E/F
                                                                                                                                    G




    2.2      Natasha E.                        8635 Baldwin Creek Rd                                                                D
             Behrens                           Leonardville, KS 66449                                                               E/F
                                                                                                                                    G




Official Form 206H                                                            Schedule H: Your Codebtors                                      Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name            Emrich Family Creamery LLC

 United States Bankruptcy Court for the:                       DISTRICT OF KANSAS

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $              7,500.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $            67,885.67

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $            75,385.67


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        1,104,574.09


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           313,590.36


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           1,418,164.45




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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                                               Case 18-41400                             Doc# 1                Filed 10/31/18                        Page 38 of 53
 Fill in this information to identify the case:

 Debtor name         Emrich Family Creamery LLC

 United States Bankruptcy Court for the:            DISTRICT OF KANSAS

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          October 31, 2018                        X /s/ Natasha K. Behrens
                                                                       Signature of individual signing on behalf of debtor

                                                                       Natasha K. Behrens
                                                                       Printed name

                                                                       Authorized Member
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                       Case 18-41400                    Doc# 1         Filed 10/31/18            Page 39 of 53
 Fill in this information to identify the case:

 Debtor name         Emrich Family Creamery LLC

 United States Bankruptcy Court for the:            DISTRICT OF KANSAS

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                                  Unknown
       From 1/01/2018 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                                  Unknown
       From 1/01/2017 to 12/31/2017
                                                                                                   Other


       For year before that:                                                                       Operating a business                                  Unknown
       From 1/01/2016 to 12/31/2016
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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                                       Case 18-41400                 Doc# 1          Filed 10/31/18             Page 40 of 53
 Debtor       Emrich Family Creamery LLC                                                                Case number (if known)



    or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
    may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                              Describe of the Property                                       Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                              Description of the action creditor took                        Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                       Nature of case             Court or agency's name and                 Status of case
               Case number                                                                 address
       7.1.                                                                                                                              Pending
                                                                                                                                         On appeal
                                                                                                                                         Concluded

       7.2.    Union State Bank v. A.K.                         Civil - Foreclosure        Pottawatomie County                           Pending
               Emrich, also known as Amber                                                 District Court                                On appeal
               Emrich; Natasha Emrich, also                                                106 Main Street
                                                                                                                                         Concluded
               known as Natasha Behrens;                                                   PO Box 129
               Emrich Family Creamery LLC;                                                 Westmoreland, KS 66549
               and United States of America,
               acting through The Farm
               Service Agency, United
               States Department of
               Agriculture
               2017-CV-000059

       7.3.    Fourth & Pomeroy                                 Civil                      Riley County District Court                   Pending
               Associates, Inc v. Emrich                                                   100 Courthouse Plz                            On appeal
               Family Creamery, LLC                                                        Manhattan, KS 66502
                                                                                                                                         Concluded
               2018-CV-000201




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 2
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 Debtor        Emrich Family Creamery LLC                                                                  Case number (if known)



               Case title                                       Nature of case               Court or agency's name and                Status of case
               Case number                                                                   address
       7.4.    Director of Taxation                             Property Tax                 Riley County District Court                  Pending
               Department of Revenue State                      Collection                   100 Courthouse Plaza                         On appeal
               of Kansas v. Emrich Family                                                    Manhattan, KS 66502
                                                                                                                                          Concluded
               Creamery LLC, Heremy
               Behrens
               2018-ST-000223

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                     Description of the gifts or contributions                  Dates given                              Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                     Amount of payments received for the loss                   Dates of loss              Value of property
       how the loss occurred                                                                                                                                       lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates                    Total amount or
                the transfer?                                                                                                                                    value
                Address
       11.1.    Stevens and Brand LLP
                900 Massachusetts Street,
                Suite 500
                Lawrence, KS 66044                                   Money                                                     11/1/17                        $5,000.00

                Email or website address


                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                         page 3
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 Debtor      Emrich Family Creamery LLC                                                                  Case number (if known)



    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                Dates transfers             Total amount or
                                                                                                                      were made                            value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                           Description of property transferred or                   Date transfer            Total amount or
               Address                                          payments received or debts paid in exchange              was made                          value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:      Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                       Nature of the business operation, including type of services             If debtor provides meals
                                                                the debtor provides                                                      and housing, number of
                                                                                                                                         patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 4
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 Debtor      Emrich Family Creamery LLC                                                                 Case number (if known)




18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and                    Last 4 digits of          Type of account or          Date account was           Last balance
              Address                                           account number            instrument                  closed, sold,          before closing or
                                                                                                                      moved, or                       transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                   Status of case
       Case number                                                   address




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 5
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 Debtor      Emrich Family Creamery LLC                                                                 Case number (if known)



       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address
                                                                                                                                                           Pending
                                                                                                                                                           On appeal
                                                                                                                                                           Concluded



23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Washington County Tax & Acct                                                                                               02/10/17
                    201 C St
                    Washington, KS 66968-1906

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 6
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 Debtor      Emrich Family Creamery LLC                                                                 Case number (if known)



       Name and address
       26d.1.       Union State Bank
                    204 E Hwy 16
                    PO Box 67
                    Olsburg, KS 66520-0067
       26d.2.       Kay McCoy
                    Farm Loan Manager
                    409 North St
                    Seneca, KS 66538

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Natasha E. Behrens                             8635 Baldwin Creek Rd                               Owner                                 50%
                                                      Leonardville, KS 66449

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Jeremy Behrens                                 8635 Baldwin Creek Rd                               Owner                                 50%
                                                      Leonardville, KS 66449



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

                Name and address of recipient                   Amount of money or description and value of              Dates              Reason for
                                                                property                                                                    providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 7
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 Debtor      Emrich Family Creamery LLC                                                                 Case number (if known)




    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         October 31, 2018

 /s/ Natasha K. Behrens                                                 Natasha K. Behrens
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         Authorized Member

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 8
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                                       Case 18-41400                 Doc# 1          Filed 10/31/18             Page 47 of 53
B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                        District of Kansas
 In re       Emrich Family Creamery LLC                                                                       Case No.
                                                                               Debtor(s)                      Chapter       12

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                  2,964.50
             Prior to the filing of this statement I have received                                        $                  2,964.50
             Balance Due                                                                                  $                       0.00

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]
                 Additional attorneys' fees at normal hourly rate. See AGREEMENT FOR LEGAL SERVICES IN CONNECTION
                 WITH BANKRUPTCY attached hereto and incorporated by reference.

6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               See AGREEMENT FOR LEGAL SERVICES IN CONNECTION WITH BANKRUPTCY
               particularly Paragraph #5 See Legal services NOT PROVIDED under this agreement that may be provided by
               separate written agreement attached hereto and incorporated by reference.
                                                                        CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     October 31, 2018                                                          /s/ Wesley F. Smith
     Date                                                                      Wesley F. Smith 18517
                                                                               Signature of Attorney
                                                                               Stevens & Brand, LLP
                                                                               900 Massachusetts, Suite 500
                                                                               Lawrence, KS 66044-2868
                                                                               (785) 843-0811 Fax: (785) 843-0341
                                                                               WSmith@StevensBrand.com
                                                                               Name of law firm




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           Art Craft Printers
           221 N. 4th Street
           Manhattan KS 66502


           Brad Battels
           9360 Walsburg Rd
           Leonardville KS 66449-9644


           Buchanan Industries
           8335 Hwy 16
           Olsburg KS 66520


           Chuck and Deanna Munson
           4820 Liberty Hall Road
           Junction City KS 66441-8474


           Flory Dairy Equipment, Inc
           762 E. 1250 Rd
           Lawrence KS 66046


           Heart of America DHIA
           4535 Normal Blvd
           Lincoln NE 68506


           Jeremy Behrens
           8635 Baldwin Creek Rd
           Leonardville KS 66449


           Kansas Department of Revenue
           Civil Tax Enforcement
           PO Box 12005
           915 SW Harrison
           Topeka KS 66612-2005


           Kansas State Farm Service
           3600 Anderson Avenue
           Manhattan KS 66503-2571


           Key Feeds, Inc
           105 4th Street
           Clay Center KS 67432




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       Lakeside Plumbing
       P.O. Box 177
       9620 Senn Road
       Randolph KS 66554


       Michael A. Montoya, PA
       256 S. Santa Fe
       P.O. Box 1220
       Salina KS 67402-1220


       Natasha E. Behrens
       8635 Baldwin Creek Rd
       Leonardville KS 66449

       Office of the General Counsel
       US Dept. Of Agriculture
       PO Box 419205 Mail Stop 1401
       Kansas City MO 64141-6205


       Pottawatomie County Treasurer
       207 N. 1st Street
       Westmoreland KS 66549


       Prairie Valley Veterinary
       821 Hwy 9
       Blue Rapids KS 66411


       Precision Plumbing
       Heating and Cooling
       17155 Highway 16
       Onaga KS 66521


       Riley County Treasurer
       110 County Courthouse
       Manhattan KS 66502


       Southeast Select Sires Inc
       3789 Old Port Royal Rd
       Spring Hill TN 37174


       Terry Johnson
       20705 Shannon Creek Road
       Olsburg KS 66520




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       Union State Bank
       204 E Hwy 16
       PO Box 67
       Olsburg KS 66520-0067


       United States Attorney
        US Courthouse, Ste 290
       444 SE Quincy St
       Topeka KS 66683


       US Department of Argriculture
       409 North Street
       Seneca KS 66538

       Washington County Tax & Acct
       201 C St
       Washington KS 66968-1906


       Whortons Inc
       24389 US Hwy 75
       Holton KS 66436


       Wildcat Feeds, LLC
       215 NE Strait Avenue
       Topeka KS 66616




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                                                               United States Bankruptcy Court
                                                                        District of Kansas
 In re      Emrich Family Creamery LLC                                                                Case No.
                                                                                 Debtor(s)            Chapter    12




                                               VERIFICATION OF CREDITOR MATRIX


I, the Authorized Member of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true

and correct to the best of my knowledge.




 Date:       October 31, 2018                                         /s/ Natasha K. Behrens
                                                                      Natasha K. Behrens/Authorized Member
                                                                      Signer/Title




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                                                               United States Bankruptcy Court
                                                                         District of Kansas
 In re      Emrich Family Creamery LLC                                                                   Case No.
                                                                                 Debtor(s)               Chapter    12




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Emrich Family Creamery LLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 October 31, 2018                                                    /s/ Wesley F. Smith
 Date                                                                Wesley F. Smith 18517
                                                                     Signature of Attorney or Litigant
                                                                     Counsel for Emrich Family Creamery LLC
                                                                     Stevens & Brand, LLP
                                                                     900 Massachusetts, Suite 500
                                                                     Lawrence, KS 66044-2868
                                                                     (785) 843-0811 Fax:(785) 843-0341
                                                                     WSmith@StevensBrand.com




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